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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,

                         Plaintiffs,
                                                   Case No. 1:18-cv-00950-LO-JFA
                  v.

  COX COMMUNICATIONS, INC., et al.,

                         Defendants.

                                              ORDER

          UPON CONSIDERATION of Defendants’ motion pursuant to Rule 26 of the Federal

 Rules of Civil Procedure, and Local Civil Rule 5, for an order to file the Confidential Declaration

 of Brent K. Beck in Support of Cox’s Opposition to Plaintiffs’ Motion to Compel (Dkt. 62), which

 constitutes or discusses confidential business information belonging to Cox, and finding that

 proper notices have been given, that sealing is warranted, and no alternative will suffice, it is

 hereby

          ORDERED that the motion is GRANTED, and these materials shall remain under seal until

 further order of the Court.

                               ENTERED this ____ day of December 2018.

 Alexandria, Virginia

                                        ____________________________________
                                        Liam O’Grady
                                        United States District Judge
